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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORJDA

                                  Case N o.17-cv-14333-D M M

  M A TTH EW R ID EN O U R,

         Plaintiff,


  FLAGSHIP CREDIT ACCEPTAN CE,LLC,


         Defendants.


                                   O RD ER CLO SIN G C A SE
         TH IS CA U SE com es before the C ourtupon the Parties' Joint Stipulation for D ism issal

  with Prejudice,filed on September17,2018. (DE 21). The CourtcongratulatesthePartieson
  their am icable resolution of this m atter and notes that pursuant to Anago Franchising, Inc. v.

  Shaz.
      ,LLC5677 F.3d 1272 (11th Cir.2012),the Parties'Stipulation isself-executing and no
  OrderoftheCourtisrequired to dism issthisaction. Accordingly,itishereby

         ORDERED and ADJUDGED thatthe Clerk of Courtshall CLOSE this CASE and

  DENY allpending m otionsAS M OO T.

         DO NE AND ORDERED in Chambersin W est Palm                       ch,Florida,this x Wday of
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   September,2018.
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                                                     UN ITED STATES D ISTRICT JU DG E

   Copiesto:    CounselofRecord
